Case 4:23-cv-01175-O         Document 189        Filed 04/28/25      Page 1 of 4      PageID 5724



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



 X CORP.,

                    Plaintiff,

        v.                                         Case No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA,
 et al.,

                    Defendants.




          DEFENDANTS’ REPLY ISO MOTION FOR STATUS CONFERENCE

       The parties agree that the Court should convene a conference to address the status of

discovery because, as X puts it, “the schedule in this case merits review by the Court.” Dkt. 188

(Pl’s Resp.) at 2. Defendants respectfully request that the Court hold the conference at its earliest

convenience (ideally the week of May 5, 2025 or before) because of the number of outstanding

discovery issues, their complexity, and the fast-approaching discovery deadlines. See Dkt. 186

(Defs’ Mot.) at 2–3.

       X does not contest that a prompt status conference will facilitate the Court’s evaluation of

the schedule, outstanding motions, and streamline any further resolution needed. See Dkt. 188

at 2–3. X instead complains that key discovery motions will not be fully briefed before the

requested conference. Id. But the conference need not short circuit the motions’ briefing schedule.

Rather, the conference will allow for the parties to enhance the Court’s understanding as to their

respective positions, and, consequently, might expedite the resolution of the disputes once these
Case 4:23-cv-01175-O          Document 189        Filed 04/28/25       Page 2 of 4      PageID 5725



motions are fully briefed.1

       The most important issue for the Court to resolve is timing and schedule given the multiple

issues still pending in discovery (including X’s refusal to even commit to a date by which it will

substantially complete document production).

       With respect to the proposed schedule adjustment—which the Parties agree is necessary—

Defendants will keep seeking cooperation from X to arrive promptly at a compromise. Defendants

have, for weeks asked to confer with X on the matter. The notion that Defendants filed their request

for a status conference “without adequately conferring with Plaintiff” is baseless. See Ex. A.

           •   On Friday, April 4, Defendants identified the schedule deadlines as an agenda item
               for a meet and confer call on Monday, April 7.
           •   During the April 7 meet and confer, Defendants stated that they believed the parties
               needed to adjust the discovery deadline and dispositive motion deadline in the
               schedule.
           •   On April 16, Defendants told X that they intended to seek a status conference to
               address the schedule and deposition protocol the parties had been discussing.
           •   On April 18, Defendants identified the specific issues they wanted to discuss with
               the Court and sent a proposed schedule.
           •   The parties met and discussed Defendants’ proposed schedule on April 22.
           •   After weeks of discussion, the parties were not able to reach agreement on the
               schedule or deposition protocol, necessitating Defendants’ motion.

       Defendants reached out again today, Monday, April 28, 2025, to try and reach some

compromise on the issue with X. Defendants disagree with many of the other assertions and

characterizations in X’s Response, but will address those in proper course. Regardless, the parties

are united that a status conference would help move the case forward.


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         Defendants are amenable to addressing any of the several outstanding issues in this case
however the Court sees fit during the conference, including Defendants’ Motion to Transfer Venue
(Dkt. 152) and Plaintiffs’ Motion For An Antisuit Injunction (Dkt. 156). But these two issues
should not delay the needed schedule adjustments and resolution of discovery disputes, given the
impending deadlines. Separately, X describes Defendants’ Motion to Transfer Venue as
“meritless,” and makes superfluous references to “gamesmanship,” Dkt. 188 at 1; Defendants
disagree with these gratuitous characterizations, wholly irrelevant to the request at hand for a status
conference.
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Case 4:23-cv-01175-O     Document 189   Filed 04/28/25     Page 3 of 4   PageID 5726




Dated: April 28, 2025.                   Respectfully submitted,



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Case 4:23-cv-01175-O        Document 189        Filed 04/28/25       Page 4 of 4      PageID 5727




                                                  Attorneys for Defendants Media Matters for
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                                CERTIFICATE OF SERVICE

       I certify that on April 28, 2025, a true and correct copy of the foregoing was properly served

on counsel of record via electronic filing in accordance with the USDC, Northern District of Texas

Procedures for Electronic Filing.



                                                  /s/ Justin A. Nelson
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